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                                                                           FLORA EDWARDS
                                                                              ATIORNEY AT LAW
                                                                               A Professional Corporation
 Admitted in NY, NJ & Fla.


 115 BROADWAY- SUITE 1505 .. I>.'EW YORK. NEW YORK 10006" Tel: 212-785-3344 .. Fax: 212-577-2865 .. E-Mail; FMELAW @aoI.com




                                                                                                                 April 8, 2011

       By Fax to (212) 805-7920.                                                            , j


  '. . Hon. Shira A: Scheindlin
       United States District Judge
       United States District Court
     . Southern District of New York
 .:., 500 PearL Street -Room 1620


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                                                                                        United States v. Starr
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    . lam writin~ in re$ponse to the request that Mr. Starr respond to the Claims filed on behalf
         ·~f.M8. Thurman, Mr. Berg, Arbor and Levy by Apri118 th • Mr. Starr's response, if any, to
         the Arbor and Levy claims, will be filed by April 18th •

        The Thurman claims demand restitution of two of Ms. Thurman's investments as well as
         :.,            "      ,:':,'     ,


       ,$485)Oqq.in pf,pfessional fees paid to Starr & Co. for services rendered over a period of five
   '..·'years. '. . With the exception of one investment, none of the documentation for Ms.
        Thurman' 5 claims have been reviewed in connection with this case. The Government has
        2~ boxes of documents related to Ms. Thuman's accounts. I have already requested an
        opportunity to review the Thurman files next week. It will take approximately one week
        to review the material and two weeks to prepare Mr. Starr's response.

          As to the Berg claims, upon information and belief, the Government did not seize any of
          the;B~rgrecords. These records are in the hands of the Receiver appointed by the Court
          irt the SEC matter. I am requesting that the Receiver turn over the necessary files.




                                                   Sewaren, NJ 07077                     Tel; 732-208·1408       Fax: 732-750-4975
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            Because additional time is required in order to gather and review documents relating to
            the Thurman and Berg claims, Mr. Starr is requesting until May 6,2011 to file his response.
            ir claims the petitions makes. Additionally, this adjournment will enable the parties to
            continue discussions about resolving the claims without the need for a hearing.

            I have consulted with the Government and am advised that there is no objection to the
            request. If the Court wishes to contact me, I can be reached today at~8-1408.

            I thank the Court for its consideration of this request.
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            cc:    AUSA Michael Bosworth
                   (Bye-mail to michael.bQsworth®Usdoj .gov)
